        Case 4:14-cr-00094-KGB Document 5 Filed 04/09/14 Page 1 of 1




UNITED STATES OF AMERICA                                                       PLAINTIFF

vs.                               NO. 4:14MJ6022-0l

GABRIEL RENTERIA                                                            DEFENDANT


                                          ORDER

       The Defendant Gabriel Renteria appeared before the court on April9, 2014, for an

initial appearance on a criminal complaint. Mr. Renteria is not well-versed in the English

language and is unable to understand the proceedings being conducted. Mr. Renteria and

his counsel requested the assistance of an interpreter to enable Mr. Renteria to

communicate with and comprehend the presiding judicial officers and other parties at any

and all proceedings conducted in court.

       The Court therefore directs that an interpreter be appointed, pursuant to Rule 28 of

the Federal Rules of Criminal Procedure. The Clerk is directed to appoint a qualified

interpreter to assist the Defendant, counsel, and the court at any and all court proceedings

in this case.

       IT IS SO ORDERED this 9th day of April, 2014.




                                          UNITED STATES MAGISTRATE JUDGE
